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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 9:18-CV-80176-BLOOM/REINHART

  IRA KLEIMAN, as personal representative of
  the estate of David Kleiman, and W&K INFO
  DEFENSE RESEARCH, LLC,

         Plaintiffs,
  v.

  CRAIG WRIGHT,

        Defendant.
  _____________________________________/

              DEFENDANT’S OPPOSITION TO W&K’S EXPEDITED MOTION
                FOR EXTENSION OF TIME TO FILE MOTION FOR FEES

         Defendant Craig Wright (“Defendant”) files this response in opposition to the Expedited

  Motion for Extension of Time to File Motion for Fees [ECF No. 1079] (“Motion”), filed by

  Plaintiff W&K Info Defense Research LLC (“Plaintiff”), and states as follows:

         1.      Motions for extension of time require a showing of good cause to be “set forth in

  the motion.” S.D. Fla. LR 7.1(a)(1)(J). Plaintiff does not address, much less attempt to meet, this

  standard in the Motion. Instead, the absence of good cause for an extension is apparent from the

  face of the Motion—and Plaintiff’s motion for attorneys’ fees is untimely—for multiple

  independent reasons.

         2.      First, Plaintiff acknowledges that its draft motion for attorneys’ fees was not served

  on Defendant until April 16, 2024. See Mot. ¶ 2. This is untimely under Local Rule 7.3, which

  requires that draft motions be served “at least thirty (30) days prior to the deadline for filing any

  motion for attorneys’ fees.” S.D. Fla. LR 7.3(b). As the deadline for filing Plaintiff’s motion for

  attorneys’ fees was yesterday, May 14, Mot. ¶ 5, the deadline to serve Defendant with a draft fee




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  motion was April 14, 2024. As this fell on a Sunday, Plaintiff’s fee motion was due to be served

  by April 15, 2024 at the latest. Plaintiff never requested an extension to serve Defendant with the

  draft fee motion and provides no explanation or justification for its tardy service in the Motion.

  This alone provides grounds to deny any fee motion filed by Plaintiff outright, and precludes a

  showing of good cause for an extension to file the already-belated motion. See, e.g., Norych v.

  Admiral Ins. Co., No. 08-CV-60330-ALTONAGA, 2010 WL 2557502, at *2 (S.D. Fla. June 23,

  2010) (denying a fee motion where a party “did not serve a draft motion thirty days after entry of

  judgment, and it did not confer with Plaintiffs twenty-one days after service of the draft motion”

  as “[t]hese errors alone are sufficient reason to deny the Motion”); Sriskada v. Harbor Pita, Inc.,

  No. 14-CV-20526-GOODMAN, 2015 WL 4041298, at *1 (S.D. Fla. July 1, 2015) (same, as

  “Local Rule 7.3’s requirements are not optional, but mandatory”). The Motion should be denied

  for this reason alone.

         3.      Second, Plaintiff acknowledges that it did not meet and confer within 21 days after

  belatedly serving the draft fee motion. See Mot. ¶ 4. Despite counsel for Defendant requesting

  conferral times from Plaintiff’s counsel when Defendant served objections to the draft fee motion

  (raising, among other grounds, untimeliness), and then following up by providing three separate

  days on which counsel for Defendant was available to confer, Plaintiff’s counsel never responded

  until May 14 after the 21-day conferral period had passed. Mot. ¶ 4. Plaintiff’s only justification

  for failing to comply with its conferral obligations is that one “counsel for W&K fell ill.” Id. But

  in the draft fee motion belatedly served by Plaintiff, Plaintiff seeks to recover fees for twenty

  different timekeepers across two firms. Plaintiff makes no representation that none of these

  attorneys were available to comply with Plaintiff’s conferral obligations in the period prescribed

  by the Local Rules. This, too, provides a basis to deny the Motion (and to deny Plaintiff’s fee




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  motion as well, even if it were timely-filed). See, e.g., Norych, 2010 WL 2557502, at *2.

         4.      Third, Plaintiff did not advise counsel for Defendant of any illness or request any

  extension until the afternoon (1:20 PM) of the day the fee motion was due to be filed. Counsel for

  Defendant could not agree to this belated request, especially as the fee motion was already

  untimely for the foregoing independent reasons. Plaintiff did not file the Motion requesting an

  extension on an “expedited” basis until the evening of the day the fee motion was due. Plaintiff’s

  delay was a problem of its own making, and the Rules are clear that this does not constitute good

  cause, much less good cause for an expedited or emergency motion. See, e.g., S.D. Fla. LR 7.1(d)

  (“Motions are not considered emergencies if the urgency arises because of the attorney’s or party’s

  own dilatory conduct.”).

         5.      Fourth, despite filing the Motion requesting an extension after business hours on

  the eve of the deadline, Plaintiff did not file its fee motion on the day it was due, even as a

  precautionary measure. The fee motion is thus untimely for this third independent reason: 1) the

  draft was not timely served; 2) Plaintiff failed to timely meet and confer; and 3) the fee motion

  was not timely filed, all in violation of Local Rule 7.3.

         6.      Plaintiff has not established, and cannot establish, good cause for an extension for

  all of these independently dispositive reasons, and the Motion should be denied.


  Dated: May 15, 2024                                   Respectfully submitted,

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                                                               Counsel for Defendant Craig Wright


                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 15th day of May, 2024, I electronically filed the

  foregoing with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on counsel of record identified below either via transmission of Notices

  of Electronic Filing generated by CM/ECF, or in some other authorized manner for those counsel

  or parties who are not authorized to receive Notices of Electronic Filing.




                                                               /s/James E. Gillenwater
                                                               JAMES E. GILLENWATER




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